                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

           Jamielle Jones,            )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )                3:21-cv-00074-RJC
                                      )
                 vs.                  )
                                      )
      Wells Fargo Bank, N.A.,         )
            Defendant(s).             )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s November 10, 2021 Order.

                                               November 10, 2021




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